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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                   Plaintiff,
                                                  Case No. 15-20652
 vs.
                                                  HON. GEORGE CARAM STEEH
 D-4 COREY BAILEY,
 D-6 ROBERT BROWN,
 D-13 ARLANDIS SHY II,
 D-19 KEITHON PORTER

               Defendants.
 _____________________________/

               ORDER REGARDING PRETRIAL CONFERENCE

       This matter is scheduled to come before the court on May 22, 2018 at

 2:30 p.m. for a pretrial conference. In anticipation of that conference, the

 court instructs counsel to be prepared to discuss whether any of the learned

 counsel should remain for trial given that the government has informed the

 court and defendants that it will not seek the death penalty as a possible

 punishment.

 Dated: May 16, 2018
                                           s/George Caram Steeh
                                           GEORGE CARAM STEEH
                                           UNITED STATES DISTRICT JUDGE

                                 CERTIFICATE OF SERVICE

                  Copies of this Order were served upon attorneys of record on
                       May 16, 2018, by electronic and/or ordinary mail.
                                      s/Marcia Beauchemin
                                          Deputy Clerk
